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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

JACQUELINE DELGADO,
individually on behalf of all others            Civil No. 2:21-CV-11401
similarly situated,
                                                Hon. Bernard A. Friedman
                    Plaintiff,                  Mag. Judge Elizabeth A. Stafford
      v.
EMORTGAGE FUNDING, LLC, a
Michigan company,
                    Defendant.

               STIPULATION AND ORDER FOR DISMISSAL

      Plaintiff Jacqueline Delgado (“Plaintiff”) and Defendant eMortgage

Funding, LLC (“Defendant”) hereby stipulate to the dismissal of this action with

prejudice as to Plaintiff’s individual claims and without prejudice as to any other

member of the putative class’s right to bring claims, with each party to bear its

own attorneys’ fees and costs.

      So stipulated.

                                       Respectfully Submitted,

Dated: April 27, 2022                  By: /s/ Avi R. Kaufman
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                                   Attorneys for Plaintiff and the putative
                                   Classes

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                                   Counsel for Defendant


     So Ordered.
                                      s/Bernard A. Friedman
Dated: April 28, 2022                 Bernard A. Friedman
       Detroit, Michigan              Senior United States District Judge




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